               Case
     Fill in this       23-70113-grs
                  information                  Doc 1
                              to identify your case:       Filed 04/05/23 Entered 04/05/23 13:25:03                              Desc Main
                                                           Document      Page 1 of 31
     United States Bankruptcy Court for the:

     ____________________
     Eastern               District of _________________
             District of Kentucky      (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                             Chapter 7
                                                            
                                                            ✔ Chapter 11
                                                             Chapter 12                                                                 Check if this is an
                                                             Chapter 13                                                                    amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Inmet  Mining, LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               144 E. Marketplace Blvd.                                 _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Knoxville                   TN      37922
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Knox County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                Inmet Mining, LLC
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            2121
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
          Case 23-70113-grs                    Doc 1      Filed 04/05/23 Entered 04/05/23 13:25:03                               Desc Main
                                                          Document      Page 3 of 31
               Inmet Mining, LLC
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                                Number       Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________      _______     ________________
                                                                                City                                         State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name       ____________________________________________________________________

                                                             Phone              ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49
                                           ✔
                                                                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million                  $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million
                                                                            ✔
                                                                                                                      $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
          Case 23-70113-grs                  Doc 1        Filed 04/05/23 Entered 04/05/23 13:25:03                                Desc Main
                                                          Document      Page 4 of 31
             Inmet Mining, LLC
Debtor       _______________________________________________________                            Case number (if known)_____________________________________
             Name



                                          $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million
                                                                                 ✔
                                                                                                                         More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                              petition.
   debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            04/05/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Jeffrey Strobel
                                              _____________________________________________              Jeffrey Strobel
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                    Chief Restructuring Officer
                                             Title _________________________________________




18. Signature of attorney
                                          /s/ Jeffrey Phillips
                                              _____________________________________________             Date          04/05/2023
                                                                                                                      _________________
                                              Signature of attorney for debtor                                        MM   / DD / YYYY



                                              Jeffrey Phillips
                                             _________________________________________________________________________________________________
                                             Printed name
                                              Steptoe & Johnson PLLC
                                             _________________________________________________________________________________________________
                                             Firm name
                                              100 W. Main St. Suite 400
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Lexington
                                             ____________________________________________________             KY             40507
                                                                                                            ____________ ______________________________
                                             City                                                           State        ZIP Code

                                              859-219-8210
                                             ____________________________________                            jeff.phillips@steptoe-johnson.com
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address



                                              92825                                                           KY
                                             ______________________________________________________ ____________
                                             Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Inmet Mining, LLC                                                               11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Industrial Minerals Group, LLC                              100                     Other (Sole Member)
 144 E. Marketplace Blvd., Knoxville, TN 37922
               Case 23-70113-grs                    Doc 1        Filed 04/05/23 Entered 04/05/23 13:25:03                            Desc Main
                                                                 Document      Page 6 of 31
      Fill in this information to identify the case:

                    Inmet Mining, LLC
      Debtor name __________________________________________________________________

                                              Eastern District of Kentucky
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                          Check if this is an
      Case number (If known):        _________________________                                                                                amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                       12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete                Name, telephone number,     Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code          and email address of        (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                                  creditor contact            debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                              professional        unliquidated, total claim amount and deduction for value of
                                                                              services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                   Total claim, if   Deduction for      Unsecured
                                                                                                                   partially         value of           claim
                                                                                                                   secured           collateral or
                                                                                                                                     setoff
     Blackjewel Liquidation Trust                                            Unpaid Scheduled
1    999 17th Street                                                         Payments
     Suite 700
                                                                                                                                                       15,638,355.51
     Denver, CO, 80202


     Cumberland Surety, Inc.
2    200 N. Upper Street
     Lexington, KY, 40507
                                                                                                                                                       3,722,407.96


     Penn Virginia Operating Co, LLC
3    Seven Sheridan Square
     Suite 400
                                                                                                                                                       2,789,139.99
     Kingsport, TN, 37660


     NRP, LLC                                    304-522-5700
4    5260 Irwin Road
     Huntington, WV, 25705                                                                                                                             1,715,401.94


     Caterpillar Financial Service               800-651-0567
5    PO Box 730681
     Dallas, TX, 75373                                                                                                                                 1,307,248.15


     Kentucky Department of Revenue
6    P O Box 491
     Frankfort, KY, 40619                                                                                                                              944,109.35


     Pinnacle Financial Partners Bank                                        Paycheck Protection
7    150 Third Avenue South                                                  Program
     Suite 900                                                                                                                                         844,195.28
     Nashville, TN, 37201

     Phillips Global, Inc.                       304-658-5201
8    367 George St
     Beckley, WV, 25801                                                                                                                                582,935.14




    Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 1
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                    Inmet Mining, LLC
    Debtor         _______________________________________________________                         Case number (if known)_____________________________________
                   Name




     Name of creditor and complete                Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code          and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                                  creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                               professional        unliquidated, total claim amount and deduction for value of
                                                                               services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                    Total claim, if   Deduction for      Unsecured
                                                                                                                    partially         value of           claim
                                                                                                                    secured           collateral or
                                                                                                                                      setoff
     US Department of Labor
9
                                                                                                                                                        550,000.00


     Combs Equipment Group, LLC
10 PO Box 573
     Pineville, KY, 40977                                                                                                                               325,000.00



     BCBS of Tennessee                           (888) 924-2271
11 Group Receipts Dept
     PO Box 6539                                                                                                                                        269,423.38
     Carol Stream, IL, 60197

     Newbridge Services Inc.
12 200 N. Upper Street
     Lexington, KY, 40507                                                                                                                               168,941.62



     Obadiah Contracting & Excavation, LLC
13 459 Raleigh Drive
     Partridge, KY, 40862                                                                                                                               149,280.50


     Kopper Glo Mining LLC
14 144 E. Marketplace Blvd.
     Knoxville, TN, 37922                                                                                                                               97,651.89


     Shaw Heavy Equipment                        618-443-6560
15 404 East Fourth Street
     Sparta, IL, 62286
                                                                                                                                                        83,118.04


     Blue Tarpon Capital, LLC
16 1415 Louisiana Street STE 2400
     Houston, KY, 77002                                                                                                                                 62,833.32


     Aquatic Resources Managment, LLC
17 2554 Palumbo Drive
     Lexington, KY, 40509
                                                                                                                                                        33,045.00


     United Industrial Services. Inc.            540-726-+9512
18 PO Box D
     1010 Spruce Street                                                                                                                                 32,048.00
     Rich Creek, VA, 24147

     Jones Oil Company, Inc
19 PO Box 3427
     Pikeville, KY, 41502
                                                                                                                                                        32,036.38


     GardaWorld Security Services
20 PO Box 843886
     Kansas City, MO, 64184                                                                                                                             20,726.69




    Official Form 204                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 2
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                               United States Bankruptcy Court
                               Eastern District of Kentucky




         Inmet Mining, LLC
In re:                                                          Case No.

                                                                Chapter    11
                     Debtor(s)




                             Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              04/05/2023                         /s/ Jeffrey Strobel
Date:
                                                 Signature of Individual signing on behalf of debtor

                                                 Chief Restructuring Officer
                                                 Position or relationship to debtor
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A and I Machine Hydraulic                              Altec
14547 Highway 190                                      23422 Mill Creek Drive
Pineville, KY 40977                                    Suite 225
                                                       Laguna Hills, CA 92653

AAA Mine Service, Inc.
18 Mountain View Dr.                                   American Concrete Group, LLC
Hazard, KY 41701                                       PO Box 708
                                                       41234 West Morgan Ave
                                                       Pennington Gap, VA 24277
Access Cable Television, Inc.
302 Enterprise Dr.
Somerset, KY 42501                                     American Express
                                                       PO Box 650448
                                                       Dallas, TX 75265
ACIN
5260 Irwin Rd.
Huntington, WV 25705                                   American Junior Golf Association
                                                       5260 Irwin Rd
                                                       Huntington, WV 25705
Action Auto Supply
6298 Highway 15
Whitesburg, KY 41858                                   American Mine Power, Inc.
                                                       PO Box 1602
                                                       Crab Orchard, WV 25827
ADT Security Services
P O box 371878
Pittsburgh, PA 15250                                   American Mine Research, Inc.
                                                       PO Box 234
                                                       12187 North Scenic HWY
Advance Auto Parts                                     Rocky Gap, VA 24366
1310 East Main Street
Cumberland, KY 40823
                                                       AmeriGas Propane LP
                                                       460 North Gulph Road
Advanced Auto Parts - Cumberland                       King of Prussia, PA 19406
1310 East Main Street
Cumberland, KY 40823
                                                       Anderson Equipment Company
                                                       1000 WASHINGTON PIKE
AirMed Care Network                                    Bridgeville, PA 15017
13071 HWY 119 S
Partridge, KY 400862
                                                       Andy Sharrett
                                                       953 Greenleaf Rd
Alliance Benefit Group                                 Jonesville, VA 24263
7425 Hollister Street
Houston, TX 77040
                                                       Anthony Worley
                                                       315 Bell Ave
ALLIANCE SERVICE INC.                                  Appalachia, VA 24216
1717 SOUTH BOULDER AVE, SUITE 400
Tulsa, OK 74119
                                                       Appalachian Mine Supplies, Inc.
                                                       PO Box 247
Alpha Technologies, Inc.                               Pounding Mill, VA 24637
PO Box 1114
Scott Depot, WV 25560
                                                       Appalachian Technical Services, Inc.
                                                       PO Box 3537
                                                       Wise, VA 24293
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Aquatic Resouces Mangement, LLC                     B&B Auto Repair
2554 Palumbo Drive                                  1672 HWY 421
Lexington, KY 40509                                 Bledose, KY 40810


Aquatic Resources Managment, LLC                    B&D Mine Supply, Inc.
2554 Palumbo Drive                                  3773 Highway 38
Lexington, KY 40509                                 Harlan, KY 70831


ARAMARK                                             B&F Parts and Service
PO BOX 731676                                       PO Box 1966
Dallas, TX 75373                                    Cedar Bluff, VA 24609


Arch Resources, Inc.                                B&M Machine Shop, Inc.
                                                    PO BOx 571
                                                    Harrogate, TN 37752
Argonaut Insurance Company
654 Main Street
Rockwood, PA 15557                                  B&M Repair Inc.
                                                    PO Box 4546
                                                    Chapmanville, WV 255008
Arlie E Boggs Elementary School
1099 State HWY 806
Eolia, KY 40826                                     Ball Heating and Air Conditioning, Inc.
                                                    PO Box 168
                                                    Baxter, KY 40806
Arrow Gas & Oil, Inc.
270 Midway Lane
Oak Ridge, TN 37830                                 BALL OFFICE MACHINES, INC
                                                    55 THOMPSON BRANCH ROAD
                                                    CAWOOD, KY 400815
Artemis Consulting Services, LLC
PO Box 1085
Abingdon, VA 24212                                  BCBS of Tennessee
                                                    Group Receipts Dept
                                                    PO Box 6539
Ashby & Geddes                                      Carol Stream, IL 60197
500 Deleware Ave
Wilmington, DE 19899
                                                    Belt Tech Inc.
                                                    PO Box 608
Ashland                                             Bluefield, VA 24605
PO Box 116232
Atlanta, GA 30368
                                                    Better Air Heating & Cooling
                                                    204 West Main Street
AT&T                                                Appalachia, VA 24216
PO Box 105262
Atlanta, GA 30348
                                                    Big Stone Glass, Inc.
                                                    PO Box 396
Austin Powder                                       Big Stone Gap, VA 24219
PO Box 6049
Cleveland, OH 44194
                                                    Big Valley Seeding, Inc.
                                                    6689 Gate City Hwy
AW Chesterton Company                               Bristol, VA 24202
860 Salem St
Groveland, MA 01834
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Birtley Industrial Equipment                             Boggs Construction Co., Inc.
2333 Innovation Drive                                    DBA N2 Doors
Lexington, KY 40511                                      11824 Lyons Fork Rd
                                                         Coeburn, VA 24230

BKS Partners
Department 914                                           Boyd Cat
PO Box 4458                                              2200 South Kentucky Ave
Houston, TX 77210                                        Corbin, KY 40701


Black Fuel Energy, LLC                                   Boyd Company
3649 Waterside Way                                       Whayne Supply
Louisville, TN 37777                                     Department 8326
                                                         Elgin, IL 60122

Black Mountain Utility District
609 Four Mile Rd                                         Brandeis
Baxter, KY 40806                                         Department 8013
                                                         Elgin, IL 60122

Blackjewel Liquidation Trust
999 17th Street                                          BreakThru Construction Co, Inc.
Suite 700                                                PO Box 108
Denver, CO 80202                                         Appalachia, VA 24216


Blackjewel Liquidation Trust, LLC                        Brenda D Wells
David J. Beckman, Trustee                                2923 Baker Road
999 17th St., Suite 700                                  Big Stone Gap, VA 24219
Denver, CO 80202

                                                         Bresee Trucking Company, Inc.
Blair Tire Sales                                         PO Box Drawer 520
3309 Temple Hill Road                                    Big Stone Gap, VA 24219
Erwin, TN 37650

                                                         Breton Maggard
Blossman Companies, Inc.
PO Drawer 1110
Ocean Springs, MS 39566                                  Brians Battery Service
                                                         PO Box 963
                                                         Harlan, KY 40831
Blue Ridge Diesel Injection
1016 Delaware Street
PO Box 867                                               Brooks Tire Service
Salem, VA 77002                                          PO Box 96
                                                         Fourmile, KY 40939

Blue Tarpon Capital, LLC
1415 Louisiana Street STE 2400                           Buchanan Pump Service
Houston, KY 77002                                        PO Box 827
                                                         Pound, VA 24279

Bobby Fields
16646 Broad Street                                       Buffie Fields
St Paul, VA                                              99 Robinson Rd
                                                         Somerville, AL 35670

Bobby Johnson
916 Goose Creek Rd
Neon, KY 41840
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Byron's Printing, Inc.                                Cash Metals & Recycling, LLC
4430 Singleton Station Road                           PO Box 298
Louisville, TN 37777                                  Grays Knob, KY 40829


C& B Blueprint, Inc.                                  Caterpillar Financial Service
824 6th Street                                        PO Box 730681
Huntington, WV 25071                                  Dallas, TX 75373


C. Hunter Hobson                                      Caudill Seed
3271 Lakeside Drive                                   1402 W Main St
Lenoir City, TN 37772                                 Lousiville, KY 40203


Caleb Webb                                            CED
                                                      1135 East 192 ByPass
                                                      London, KY 40741
Capital One

                                                      Centrifugal & Mechanical Industries
Capitol Corporate Services, Inc.                      24703 Network Place
PO Box 1831                                           Chicago, IL 60673
Austin, TX 78767

                                                      CERAMIC TECHNOLOGY, INC
Carlos Phillips                                       606 WARDELL INDUSTRIAL PARK RD
11260 Bollgs Hollow Rd                                CEDAR BLUFF, VA 24609
Pound, VA 24279

                                                      Chambers Funeral Home
Carlson Software, Inc.                                Rt 49 Hafield Bottom
33 E Second Street                                    Matewan, WV 25678
Maysville, KY 41056

                                                      CHAPTER 13 TRUSTEE EDKY
Carlton Scale                                         PO Box 1766
120 Lankmark Drive                                    Memphis, TN 38101
Greensboro, NC 2749

                                                      Charles Burnett
Carmeuse Lime & Stone                                 149 Limestone Br Rd
PO Box 712604                                         Pineville, KY 40977
Cincinnati, OH 45271

                                                      Charles Davidson
Carroll Engineering Co.                               310 Logan Lane
PO Box 741245                                         Tazewell, TN 37879
Atlanta, GA 30384

                                                      Charles Hobson
Carter Machine Company, Inc.                          144 E Market Place Blvd
PO Box 751053                                         Knoxville, TN 37922
Charlotte, NC 28275

                                                      Charles. H Hobson
Cash                                                  12206 Springside Lane
144E Market Place Blvd                                Knoxville, TN 37922
Knoxville, TN 37922
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Chemstream,Inc.                                       Coal Mining Engineering Services, LLC
Environmine, Inc.                                     6250 Hurricane Road
511 Railroad Ave                                      PO Box 607
Homer City, PA 15748                                  Wise, VA 24293


Christopher McDowell                                  Coffman Oil Co., Inc.
153 Elizabeth Lane                                    PO Box 1241
Barbourville, KY 40906                                Morristown, TN 37816


Chubb                                                 Cogar Manufacturing, Inc.
PO Box 382001                                         PO Box 498
Pittsburgh, PA 15250                                  Pearisburg, VA 24134


Cincinnati Mine Machinery Co                          Combs Equipment Group, LLC
PO Box 23128-0128                                     PO Box 573
Cincinnati, OH 45223                                  Pineville, KY 40977


City of Knoxville                                     Comcast
Property Tax Office                                   PO Box 37601
PO Box 15001                                          Philadelphia, PA 19101
Knoxville, TN 37901

                                                      Comcast Business
Civil, LLC                                            PO Box 71211
287 Farmers Mill Road                                 Charlotte, NC 28272
Harlan, KY 40831

                                                      Computers Etc.
Claiborne County Clerk                                130 Perimeter Park Drive
PO Box 173                                            Suite E
Tazewell, TN 37879                                    Knoxville, TN 37922


Classic Auto Glass                                    Conn-Weld Industires, Inc.
3201 General Carl Stiner HWY                          PO Box 5329
PO Box 555                                            Princeton, WV 24740
Lafollette, TN 37766

                                                      CONTINENTAL GLOBAL HANDLING LLC
Clay County Kentucky Clerk                            438 Industrial Drive
102 Richmond Rd.                                      Winfield, AL 35594
Suite 101
Manchester, KY 40962
                                                      Conveyance, LLC
                                                      3280 Hageman Street
Clifford Berry, Jr.                                   Cincinnati, OH 45241
15229 S HWY 421
Manchester, KY 40962
                                                      CONVEYOR MANUFACTURING & SUPPLY
                                                      PO BOX 678
Coal Field Lumber Company, Inc.                       HOLDEN, WV 25625
PO Box 1656
Inez, KY 41224
                                                      Corby Robertson III


                                                      Corby Robinson III
                                                      Houston, TX 77002
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Coulter & Justus, PC                                  CUMMINS INC
9717 Cogdill Road                                     500 JACKSON ST M/C 60113
Suite 201                                             COLUMBUS, IN 47201
Knoxville, TN 37932

                                                      Curtis Scott
Craig Travis                                          3706 Turky Creek
780 Kevington Drive                                   Inez, KY 41221
London, KY 40744

                                                      Custom Software Solutions
Crescent Printery, Ltd                                PO BOX 829
PO Box 39                                             PRINCETON, WV 24740
Coeburn, VA 24230

                                                      D&M Distributing Inc.
Crider Heating and Air, LLC                           PO Box 331617
54 Nolans Branch                                      Murfreesboro, TN 37133
Baxter, KY 40806

                                                      D.G TRUCKING & EQUIPMENT
CS&C                                                  1282 ROBINSON CREEK RD
PO Box 4003                                           LILY, KY 40740
Pikeville, KY 41502

                                                      DaleRay Tank Service, Inc.
CSX Transportation                                    13441 Bristol HWY
PO Box 532652                                         Bristol, VA 24202
Atlanta, GA 30353

                                                      Dallas Hubbard
Cumberland Heating                                    PO Box 226
630 Patterson Road                                    Calvin, KY 40813
Harrogate, TN 37752

                                                      Damon Williams Trucking, Inc.
Cumberland Mine Service, Inc                          PO Box 518
PO Box 394                                            Grays Knob, KY 40829
Cumberland, KY 40823

                                                      Danny Ray Simpson Jr.
Cumberland Surety, Inc.                               114 Eula Gray St
200 N. Upper Street                                   Harlan, KY 40831
Lexington, KY 40507

                                                      Darco Energy Management Corp
Cumberland Tourist Commission                         13 Cutter Circle
506 W Main Street                                     Bluffton, SC 29909
Cumberland, KY 40823

                                                      DAVE B. JORDAN, P.C.
Cumberland Valley Electric
PO Box 440
Gray, KY 40734                                        David Creech
                                                      24570 N US HWY 119
                                                      Cumberland, KY 40823
Cumberland Water Works
205 Kingdom Come Drive
Cumberland, KY 40823                                  David E. Lane, P.E.
                                                      5425 Glen Cove Drive
                                                      Knoxville, TN 37919
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David Jackson                                         DJ'S RADIATOR SALES & SERVICE INC
1766 Balkan Road                                      PO BOX 2538
Pineville, KY 40977                                   Coeburn, VA 24230


David Patterson                                       Don Hacker
PO Box 837                                            420 Reeder Loop Rd
Clintwood, VA 24228                                   Barbourville, KY 40906


Davis Service and Towing Center                       Dotson Mine Machine Repair
985 Lower Georges Fork Hollow                         Paul D Dotson
Clintwood, VA 24228                                   2383 HWY 931 North
                                                      Whitesburg, KY 41858

DBA D&R Lawn Care
Rick M Sage                                           Double R Trucking Company, Inc.
315 Kildav Loop                                       10136 Jefferson Rd
Evarts, KY 40828                                      Coeburn, VA 24230


Dean Knuckles Enterprises, Inc.                       Dr. Abdul Kader Dahhan MD PSC
PO Box 532                                            120 Professional Lane
Pineville, KY 40977                                   Suite 101
                                                      Harlan, KY 40831

Delaware Division of Revenue
820 N. French St.                                     Drives & Conveyors
Wilmington, DE 19801                                  PO Box 399
                                                      Corbin, KY 40702

Delaware Secretary of State
PO Box 5509                                           DTS Drug Testing Services
Binghamton, NY 13902                                  PO Box 314
                                                      Wise, VA 24293

Department of Labor/MSHA
PO Box 790390                                         DW PUMP ENTERPRISE, LLC
Saint Louis, MO 63179                                 212 Roscommon Drive
                                                      Bristol, TN 37620

Derrick R Hall
4250 HWY 840                                          Dynatech Electronics, Inc.
Wallins, KY 40873                                     PO Box 884
                                                      Harlan, KY 40831

Diamond Consulting Services, LLC
PO Box 4207                                           E Dillon & Co
Wise, VA 24293                                        PO Box 160
                                                      Swords Creek, VA 24649

Dinsmore and Shohl, LLP
PO Box 639038                                         Eastern Screens & Drives, Inc.
Cincinnati, OH 45263                                  470 Adams Road
                                                      Pikeville, KY 41501

Division of Mine Permits
State of Kentucky                                     EKCC Training Facility
300 Sower Blvd                                        146 College Road
Frankfort, KY 40601                                   Cumberland, KY 40823
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Elgin Separation Solutions                             Gainwell Engeneering Inc.
5595 HWY 34 North                                      PO Box 57
Raleigh, IL 62977                                      Hico, WV 25854


Empower Retirement Services                            Gambrel & Wilder Law Offices, PLLC
                                                       1222 1/2 N Mian Street, Ste 2
                                                       London, KY 40741
EnerSys
PO Box 601164
Charlotte, NC 28260                                    GardaWorld Security Services
                                                       PO Box 843886
                                                       Kansas City, MO 64184
Enterprise Waste Oil Co, Inc.
5201 North Middlebrook Pike
Knoxville, TN 37921                                    GARY RUTHERFORD
                                                       5831 Luray Lane
                                                       Pound, VA 24279
Eriez Manufacturing Co
2200 Asbury Rd
Erie, PA 16506                                         General Engineering Company
                                                       26485 Hillman HWY
                                                       PO Box 549
Evan's Equipment Inc.                                  Abingdon, VA 24212
401 N. Outer Rd
Concordia, MO 64020
                                                       George & Company Tax Consulting
                                                       594 Rose Jones Lane
Eversole Heirs                                         London, KY 40744
PO Box 747
Harlan, KY 40831
                                                       Gibson Welding & Machine Inc.
                                                       7936 Carter Branch Road
EZ Haul, Inc.                                          Wise, VA 24293
8133 US HWY 23 South
Pikeville, KY 41501
                                                       Gilliam Consulting Services, LLC
                                                       630 HWY 160
FedEx Freight                                          Premium, KY 41845
P.O. Box 223125
Pittsburgh, PA 15251
                                                       GMS Mine Repair & Mainteance
                                                       32 Enterprise Drive
FloMin Coal, Inc.                                      Oakland, MD 21550
PO Box 405655
Atlanta, GA 30384
                                                       Golden Logging, Inc.
                                                       PO Box 125
FLSMIDTH, Inc.                                         Artemus, KY 40903
Charleston Operations
16002 Winfield Road
Fraziers Bottom, WV 25082                              Goodpasture Morto Co, Inc.
                                                       4965 Lee Highway
                                                       Bristol, VA 24202
Fox Toyota
228 Fox Family Lane
Clinton, TN 37716                                      GRACE EQUIPMENT COMPANY
                                                       PO BOX 2157
                                                       WILLIAMSON, WV 25661
Frost Brown Todd, LLC
PO Box 70087
Louisville, KY 40270
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Grainger                                               Harlan Little League
Dept 886858378                                         PO Box 1005
PO Box 419267                                          Harlan, KY 40831
Kansas City, MO 64141

                                                       Harlan Newsmedia LLC
Gress Engineering PC                                   PO Box 2658
PO Box 245                                             Middlesboro, KY 40965
Bluefield, VA 24605

                                                       Harlan Port-O-John Co, Inc.
H&E Electric                                           PO Box 1386
461 Table Rock Road                                    Harlan, KY 40831
Beaver, WV 25813

                                                       Harlan Tourist & Convention Commission
Harlan 2 Way, Inc.                                     PO Box 489
2415 W Hwy 72                                          Harlan, KY 40831
Harlan, KY 40831

                                                       Hayes Instrument Co LLC
Harlan Community Television, Inc.                      502 S Cannon Blvd
124 S 1st ST                                           Shelbyville, TN 37160
Harlan, KY 40831

                                                       Head Investmestment Partners
Harlan Countians for Progress                          2280 VALLEY VISTA WAY
200 Waldon Road                                        SUITE 103
Suite 1                                                Knoxville, TN 37922
Harlan, KY 40831

                                                       HEH Enterprise, LLC
Harlan County Clerk                                    10227 Coeburn Mountain Rd
PO Box 670                                             Wise, VA 24293
Harlan, KY 40831

                                                       Heritage Propane
Harlan County Clerk                                    945 N Highway 413
                                                       Baxter, KY 40806

Harlan County Clerk's Office
PO Box 670                                             Highland Industries
Harlan, KY 40831                                       PO Box 1190
                                                       Oak Hill, WV 25901

Harlan County High School
4000 North US 119                                      Hill's Machine Shop, Inc.
Baxter, KY 40806                                       526 HWY 3403
                                                       Partridge, KY 40862

Harlan County Sheriff
PO BOX 978                                             Hills Fuel Trucking, Inc.
HARLAN, KY 40831                                       PO Box 148
                                                       Fries, VA 24330

Harlan Glass Services, Inc.
PO Box 726                                             Holden Machine & Fabrication, Inc.
Harlan, KY 40831                                       PO Box 678
                                                       Holden, WV 25625
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Holland & Knight LLP                                   Indemnity National Insurance Company
10 St. James Ave                                       238 Bedford Way
Boston, MA 02116                                       Franklin, TN 37064


Holmes Mine Resuce Association - Unified               Industrial Maintenace Repair, Inc.
Lewis McCoy                                            642 Bee Hive Rd
PO box 1078                                            Slemp, KY 41763
Pound, VA 24279

                                                       Industrial Minerals Group LLC
Holston Gases                                          144 E. Marketplace Blvd.
1854 N Hwy 25 W                                        Knoxville, TN 37922
Williamsburg, KY 40769

                                                       INDUSTRIAL SUPPLY CO
HOWARD ENGR. & GLY., INC.                              PO BOX 1906
PO BOX 271                                             KNOXVILLE, TN 379001
Harlan, KY 40831

                                                       Ingersoll Rand Company
Howard Heating and Air Conditioning, Inc.              3200 Northwest Park Drive
PO Box 569                                             Knoxville, TN 37921
Baxter, KY 40806

                                                       Innovative Wireless Technologies, Inc.
Howard Law Firm, PLC                                   1100 Main Street
107 North Walnut Street                                Lynchburg, VA 24504
PO Box 633
Pineville, KY 40977
                                                       Internal Revenue Service
                                                       Centralize Insolvency
Hughes Network Systesms, LLC                           P O Box 7346
PO Box 96874                                           Philadelphia, PA 19101
Chicago, IL 60693

                                                       IPFS Corporation
Hunter Hobson                                          24722 Network Place
3271 Lakeside Dr                                       Chicago, IL 60673
Lenoir City, TN 37772

                                                       Irvin Construction Services, Inc.
Hurberries, Inc.                                       252 Cinnamon Run
516 Grove Street                                       Wytheville, VA 24832
PO Box 210
Coeburn, VA 24230
                                                       J&L Bit Service, LLC
                                                       PO box 267
Hydra Power                                            Pennington Gap, VA 24277
PO Box 539
Tazewell, VA 24651
                                                       J-Jireh Contracting, Inc.
                                                       PO Box 861
IDEAL FLORIST & GIFTS                                  Coeburn, VA 24230
231 EAST CENTRAL AVE
PO BOX 1207
La Follette, TN 37766                                  J. HALL, INC.
                                                       P.O. BOX 128
                                                       BARBOURVILLE, KY 40906
IMR
233 Owens Branch Rd
Slemp, KY 41763
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J.C.Electric Co, Inc.                                  Jerome K Howard
PO Box 1099                                            12114 HWY 522
Beaver, WV 25813                                       Cumberland, KY 40823


JABO SUPPLY CORP                                       Jerry Doan
AR DEPARTMENT                                          169 Bicycle Rd
PO BOX 238                                             Keokee, VA 24265
Huntington, WV 25707

                                                       JKL Transport
JADCO Manufacturing, Inc.                              PO box 354
PO Box 465                                             Mouthcard, KY 41548
Zelienople, PA 16063

                                                       Joe Ellis
James A. Davis                                         2356 HWY 3001
148 Davis Road                                         Cawood, KY 40815
Manchester, KY 40962

                                                       Joe Supple
James C. Whaley                                        801 Viand St.
322 Given Ave                                          Point Pleasant, WV 25550
Lexington, KY 40502

                                                       John Hancock USA
Jason Powers                                           PO Box 600
132 Stacey Lane                                        Buffalo, NY 14201
Evarts, KY 40828

                                                       Johnny Branham
Jason Prater                                           1770 Rakes Ridge Road
1834 Beechwood Ct                                      Birchleaf, VA 24220
Alcoa, TN 37701

                                                       Johnson Auto Parts
Javelin Global Commodities (UK) Ltd.                   6190 HWY 90
Black Mountain Marketing and Sales LP                  Clairfield, TN 37715
3 Columbus Circle 15th Floor
New York, NY 10019
                                                       JOHNSON CONTROLS US HOLDINGS LLC
                                                       5757 N GREEN BAY AVE
Jeffery D. Smith                                       Milwaukee, WI 53209
PO Box 385
Cawood, KY 40815
                                                       Johnson Industries, Inc.
                                                       101 Pine Fork
Jeffrey Strobel                                        Pikeville, KY 41501
17688 W Hampton Woods Dr
Chesterfield, MO 63005
                                                       Joseph Heating and Cooling
                                                       5107 Highway 406
Jennmar Corp of VA, Inc.                               Stinnett, KY 40868
PO Box 640339
Pittsburgh, PA 15264
                                                       Joseph Leonard
                                                       120 Bear Road
JEREMY OLIVER                                          Keokee, VA 24265
392 HOSKINS CEMETERY RD
London, KY 40741
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JOY GLOBAL                                          Kentucky Department of Environmental Protecti
PO Box 504794                                       300 Sower Blvd
Saint Louis, MO 63150                               Frankfort, KY 40601


Judith Trucking, Inc.                               Kentucky Department of Revenue
PO box 4320                                         P O Box 491
Pikeville, KY 41502                                 Frankfort, KY 40619


Justin Adams                                        Kentucky Drug Testing, Inc.
152 Marlowe Rd                                      PO Box 43
Whitesburg, KY 41858                                Mayking, KY 41837


K Y Industrial Sales, Inc.                          Kentucky Employment
PO Box 64                                           Dept. of Revenue
Duffield, VA 24244                                  P O Box 491
                                                    Frankfort, KY 40620

K. Hatfield, LTD
PO Box 335                                          KENTUCKY GEM INC.
Grays Knob, KY 40829                                P. O. Box 517
                                                    Middlesboro, KY 40965

Kanawha Scales and Systems Inc.
PO Box 569                                          Kentucky Mine Safety and Health Administratio
Poca, WV 25159                                      300 Sower Bv.d
                                                    Frankfort, KY 40601

Keith Dyke
144E Market Place Blvd                              Kentucky Mine Supply Company
Knoxville, TN 37922                                 PO Box 779
                                                    Harlan, KY 40831

Kelles Greer Jr
52 Reddington Rd                                    Kentucky River Properties, LLC
Harlan, KY 40831                                    360 East Vine Street
                                                    Suite 310
                                                    Lexington, KY 40507
Ken's Towing and Services, LLC
PO Box 3845
Pikeville, KY 41502                                 Kentucky State Treasurer
                                                    KY Department of Revenue
                                                    PO Box 491
Kennametal                                          Frankfort, KY 40602
442 Chalybeate Rd
Bedford, PA 15522
                                                    KENTUCKY UTILITIES
                                                    ONE QUALITY STREET
Kenneth Duff                                        Lexington, KY 40507
149 Nance Lane
Evarts, KY 40828
                                                    King Transport Company, Inc.
                                                    PO Box 466
Kentucky Community & Technical College System       Chavies, KY 41727
C/O Melvin Dixon
164 Ball Park Road
Harlan, KY 40831                                    KJ Trucking & Rock Dust
                                                    2901 HWY 186
                                                    Middlesboro, KY 40965
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Kleinschmidt, Inc.                                    Lacy Price & Wagner, PC.
PO Box 7158                                           249 North Peters Road
Deerfield, IL 60015                                   Suite 101
                                                      Knoxville, TN 37923

Knox County Clerk
PO Box 1566                                           Lamar Companies
Knoxville, TN 37901                                   PO Box 96030
                                                      Baton Rouge, LA 70896

Knox County Trustee
PO Box 70                                             Lance Cunningham Ford
Knoxville, TN 37901                                   4101 Clinton Hwy
                                                      Knoxville, TN 37912

Kopper Glo Mining LLC
144 E. Marketplace Blvd.                              Landauer
Knoxville, TN 37922                                   PO Box 809051
                                                      Chicago, IL 60680

Kruggel Lawton CPA
317 W Franklin Street                                 Lawson Products, Inc.
Elkhart, IN 46516                                     8770 West Bryn Mawer Ave
                                                      Suite 900
                                                      Chicago, IL 60631
KY Division of Child Support
Child Support Enforcement
PO Box 14059                                          Lee County Treasurer
Lexington, KY 40512                                   PO Box 70
                                                      Jonesville, VA 24263

KY Reclamation Guaranty Fund
State of Kentucky                                     Lee High School
300 Sower Blvd
Frankfort, KY 40601
                                                      Lee Supply Co, Inc.
                                                      PO Box 640335
KY Severance Tax                                      Pittsburgh, PA 15264
State of Kentucky
P O Box 491
Frankfort, KY 40619                                   Leslie County Clerk
                                                      P O box 916
                                                      Hyden, KY 41749
Kyle Cornett
132 Greenfield Road
Viper, KY 41774                                       Letcher County Clerk's Office
                                                      156 Main St.
                                                      Suite 102
L&M Trucking and Equipment Co., Inc.                  Whitesburg, KY 41858
362 Soggy Bottom
Clintwood, VA 24228
                                                      Lhoist North America of Virginia, Inc.
                                                      5216 Paysphere Circle
Lacy Price & Wagner, P.C.                             Chicago, IL 60674
249 North Peters Road
Suite 101
Knoxville, KY 37923                                   LM Wright Trucking, Inc.
                                                      PO Box 159
                                                      Isom, KY 41824
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Logan Corporation                                        MATTCO
1126 20th Street                                         65 Albert Lane
Huntington, WV 25703                                     Harlan, KY 40831


Lonnie Evans                                             McClung Logan Equipment Co, Inc.
                                                         PO Box 1158
                                                         Wise, VA 24293
M & H Contractors, LLC
PO Box 1397
Olive Branch, MS 38654                                   McDowell Gear and Machine LLC
                                                         PO Box 1587
                                                         New Tazewell, TN 37824
M&D Electrical Supplies, Inc.
PO Box 1038
Hazard, KY 41702                                         McMaster-Carr
                                                         PO Box 7690
                                                         Chicago, IL 60680
Maggard Sales and Service
7915 South Fork Road
Pound, VA 24279                                          Meade Tractor
                                                         2000 Tri Cities Crossing
                                                         Kingsport, TN 37663
Malachi Chandel Young
228 Horseshoe Bend Rd
Redfox, KY 41847                                         Meridian IT, INC.
                                                         Nine Parkway North
                                                         Suite 500
Marcum Oil Company, Inc                                  Deerfield, IL 60015
27288 Wilderness Road
Jonesville, VA 24263
                                                         MetLife
                                                         PO Box 783895
Margaret Eversole Edwards                                Philadelphia, PA 19178
1620 Travler Road
Lexington, KY 40504
                                                         Michael Booher
                                                         189 Dustys Way
Maria Trucking Co, Inc.                                  Clintwood, VA 24228
2858 Rose Ridge
Clintwood, VA 24228
                                                         Mid Mountain Heating & Cooling
                                                         1217 Orby Cantrell HWY
Martin County High School                                Appalachia, VA 24216
137 Holly Bush Rd
Inez, KY 41224
                                                         Mike Cook
                                                         84 Cookville Rd
Martin Marietta Materials, Inc.                          Whitesburg, KY 41858
21042 HWY 160
Gordon, KY 41819
                                                         Mine Safety and Health Administration
                                                         PO Box 790390
Marty Hatfield                                           St Louis, MO 63179
735 Little White Oak Rd
Duff, TN 37729
                                                         Mine Service Company, Inc.
                                                         Hwy 15 South
Masstech Tire & Auto, LLC                                P.O. Box 858
PO Box 963                                               Hazard, KY 41702
Harlan, KY 40831
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Mineral Labs, Inc.                                    Nalco Company LLC
PO Box 549                                            1601 West Diehl Road
Salyersville, KY 41465                                Naperville, IL 60563


Mitch Bentey                                          NATIONAL MINE RESCUE ASSOCIATION
PO Box 2636                                           PO BOX 1078
Coeburn, VA 24230                                     Pound, VA 24279


MOBILE GLASS SERVICE LLC                              Newbridge Services Inc.
PO BOX 1691                                           200 N. Upper Street
Harlan, KY 40831                                      Lexington, KY 40507


Morris Coker Inc.                                     Nicely's Delivery Service
PO Box 1106                                           PO Box 426
Beckley, WV 25802                                     Mac Arthur, WV 25873


Motion Industries                                     Norfolk Southern Railway
PO Box 404130                                         PO Box 532797
Atlanta, GA 30384                                     Atlanta, GA 30353


Mountain Construction Co.                             Norris Screen & Mfg, LLC
PO Box 269                                            21405 Governor G.C. Peery Hwy.
Grays Knob, KY 40829                                  Tazewell, VA 24651


Mountain Machinery, Inc.                              NRP, LLC
PO Box 763                                            5260 Irwin Road
Virgie, KY 41572                                      Huntington, WV 25705


Mountain Supply Company                               Obadiah Contracting & Excavation, LLC
Highway 421 South                                     459 Raleigh Drive
Grays Knob, KY 40829                                  Partridge, KY 40862


Moutian Air Compressor, Inc.                          Occumed Health Center
PO box 1888                                           PO Box 746469
Bristol, TN 37620                                     Atlanta, GA 30374


Moyers Transfer Moving & Storage                      Office of Surface Mining, Reclamation & Enfor
PO Box 1207                                           PO Box 979068
Middlesboro, KY 40965                                 St Louis, MO 63197


MR Automotive, LLC                                    Office of the Reclamation Guaranty Fund
424A E 5th St N                                       300 Sower Blvd
Big Stone Gap, VA 24219                               Frankfort, KY 40601


Municipal Equipment                                   Ohio Transmission Corp
6305 Shepherdsville Rd                                1302 N Engish Station Rd
Louisville, KY 40228                                  Louisville, KY 40223
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Ohio Valley Parts & Equipment, LLC                     Phillip S Hall Company, LLC
PO BOX 122                                             1555 Right Fork Maces Creek Rd
Worthville, KY 41098                                   Viper, KY 41774


P&P Construction, Inc.                                 Phillips Global, Inc.
PO Box 492                                             367 George St
Dryden, VA 24243                                       Beckley, WV 25801


P.B. DIRT MOVERS, INC.                                 Phoenix First Response
PO BOX 10                                              25 Allegheny Square
Big Rock, VA 24603                                     Glassport, PA 15045


Pace Analytical Services, LLC                          PHOENIX PROCESS EQUIPMENT CO
PO Box 907                                             PO BOX 634996
Madisonville, KY 42431                                 Cincinnati, OH 45263


Pardee Resouces Company Agency Acct                    PHOENIX SCALE COMPANY, LLC
PO Box 829794                                          751 WEST KENWOOD AVENUE
Philadelphia, PA 19182                                 Clarksville, IN 47129


Parsley General Tire, Inc                              PIke Mining Services, LLC
2006 N Main St                                         183 Tollage Creek
London, KY 40741                                       Pikeville, KY 41501


Patton Contracting, LLC                                Pinnacle Financial Partners Bank
PO Box 249                                             150 Third Avenue South
Clintwood, VA 24228                                    Suite 900
                                                       Nashville, TN 37201

Paul Creech
24570 N US HWY 119                                     Pocahontas Royalties, LLC
Cumberland, KY 40823                                   PO Box 1517
                                                       800 Princeton Ave
                                                       Bluefield, WV 24701
Paul''s Fan Company
3354 Southern Gap Rd
Grundy, VA 24614                                       POLYDECK SCREEN CORP
                                                       PO Box 602783
                                                       Charlotte, NC 28260
Paylocity Corporation

                                                       Poskas Oil & Supply Company, Inc.
Penn Virginia Operating Co, LLC                        180 Cavitts Creek Road
Seven Sheridan Square                                  North Tazewell, VA 24630
Suite 400
Kingsport, TN 37660
                                                       Powell Valley Stone Co. Inc.
                                                       PO Box 10
Performance Drives, Inc                                Dryden, VA 24243
PO Box 1682
Richlands, VA 24641
                                                       Precision Product Technologies, Inc.
                                                       325 Hedgerow Court
Peters Equipment Company, LLC                          Kingsport, TN 37663
PO Box 1050
Bluefield, VA 24605
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Premier Tank Solutions, LLC                           Repair King, Inc.
PO Box 4276                                           253 Lincoln Drive
Pikeville, KY 41502                                   Shinnston, WV 26431


Presley Trucking Co Inc                               Rex Coal Company
6409 Presley Blvd                                     500 Hwy 179
Norton, VA 24273                                      Evarts, KY 40828


Pro-Shield Security, Inc.                             Rice Oil Company
10889 HWY 15                                          708 W Central Avenue
Jeremiah, KY 41826                                    PO Box 430
                                                      La Follette, TN 37766

QUALITY CONVEYOR SOLUTIONS
971-B RUSSELL DRIVE                                   Richwood Industries, Inc.
Salem, VA 24153                                       707 7th Street West
                                                      PO Box 1298
                                                      Huntington, WV 25714
QUALITY MAGNETITE, LLC
PO BOX 671413
Dallas, TX 75267                                      Rick Raleigh
                                                      PO Box 4
                                                      Partridge, KY 40862
R&S Fence Company
Robert Cress III
1749 Strawberry Patch Rd                              Ricky & Tammy McQueen
Big Stone Gap, VA 24219                               4526 Cloverlick Rd
                                                      Cumberland, KY 40823

R.T. Welding & Fabricating, Inc.
PO BOX 1686                                           Robert G Hinkle
Harlan, KY 40831                                      DBA Hinkle Lumber, LLC
                                                      PO Box 471
                                                      Warfield, KY 41267
Railroad Management Company IV, LLC
PO Box 679950
Dallas, TX 75267                                      Robin McCarter
                                                      6536 Red Ashe Road
                                                      Knoxville, TN 37918
Raleigh's Body Shop & Towing
Reggie A. Raleigh
5844 East HWY 221                                     Rockwood Casualty Insurnace
Bledsoe, KY 40810                                     654 Main Street
                                                      Rockwood, PA 15557

Randall Caudill
PO Box 406                                            Rod Smith Law PLLC
Lynch, KY 40855                                       108 1/2 Capitol Street
                                                      Suite 300
                                                      Charleston, WV 25301
Red Bird Christian School Boosters
15420 S HWY 66
Beverly, KY 40913                                     Roger Gilliam
                                                      630 Highway 160
                                                      Premium, KY 41845
Reeder Chevrolet
4301 Clinton Hwy
Knoxville, TN 37912                                   Rogers Petroleum
                                                      PO Box 1714
                                                      Morristown, TN 37816
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Ron Bailey Trucking                                 Sara Campbell
Ronald Bailey                                       DBA SSR, Four Star Village
PO Box 310                                          641 Breeding Creek Rd
Dryden, VA 24243                                    Redfox, KY 41847


Ronald Johnson                                      Saylor Electric & Equipment Co, Inc
1906 State Route 850                                1418 Highway 2007
David, KY 41616                                     Wallins Creek, KY 40873


Roy Bright                                          Schanabel Engineering, LLC
PO Box 92                                           9800 JEB Stuart Pkwy
Norton, VA 24273                                    Suite 200
                                                    Glen Allen, VA 23059

Russell Fleming
PO Box 435                                          Schanabel Engineering, LLC
Ermine, KY 41815                                    PO Box 7422
                                                    Merrifield, VA 22116

S & S Service Inc
PO Box R                                            Scott Insurance
Cumberland, KY 40823                                PO Box 603438
                                                    Charlotte, NC 28260

S W Services, Inc.
2100 Industrial Blvd                                SGS North America Inc.
Bristol, TN 37620                                   248 Harrogate Industrial Drive
                                                    Harrogate, TN 37752

S&P Global
PO Box 848093                                       Shaw Heavy Equipment
Dallas, TX 75284                                    404 East Fourth Street
                                                    Sparta, IL 62286

S.E.P.T.I.C, Inc.
4404 Greenbrier Road                                Shrewsbury Machine & Gear Inc.
Haysi, VA 24256                                     PO Box 1120
                                                    Athens, WV 24712

SABIA, Inc.
10919 Technology Place Suite A                      Silver State Wire Rope & Rigging, INc.
San Diego, CA 92127                                 8740 S Jones Blvd
                                                    Las Vegas, NV 89139

SANDERS HAULING LLC
15 BOSS BINGHAM HOLLOW ROAD                         Singleton Smoke School
Pineville, KY 40977                                 PO Box 145
                                                    Cottontown, TN 37048

Sandra Rietman
3916 Valleybrook Dr                                 Skye Equipment, LLC.
Knoxville, TN 37931                                 5175 NC Hwy 49 South
                                                    Asheboro, NC

Sandvik Mining and Construction USA, LLC
Dept CH-10576                                       Small Business Administration
3200 Highlands Parkway SE Suite 200                 600 Dr Martin Luther King Jr Place
Smyrna, GA 30082                                    Suite 188
                                                    Louisville, KY 40202
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Smith Adjusting Inc                                     Sports Cafe & Catering
2931 Hultz Road                                         119 Eversole Street
Catlettsburg, KY 41129                                  Harlan, KY 40831


Smith Electrical Contractors, Inc.                      StaffSource, LLC
PO Box 908                                              PO Box 52185
Gate City, VA 24251                                     Knoxville, TN 37950


SNF Mining Inc                                          Stahura Conveyor Products, Inc.
PO Box 405655                                           PO Box 250
Atlanta, GA 40565                                       465 WIlliams Road
                                                        Lewisville, NC 27023

Solenis LLC
PO Box 116232                                           State Electric Supply Company
Atlanta, GA 30368                                       PO Box 890889
                                                        Charlotte, NC 28289

Solid Steel Solutions, Inc.
120 Whitmer Park Road                                   State of Virginia
PO Box 2342                                             Dept of Tax and Revenue
Middlesboro, KY 40965                                   P O box 1115
                                                        Richmond, VA 23218

Southeast Service Inc.
142 Ronald Lane                                         State of Virginia Division of Child Support E
Cumberland Gap, TN 37724                                PO Box 570
                                                        Richmond, VA 23218

Southern Appalachian Mine Supply, Inc.
2805 Norhridge Drive                                    Stephen Bunker
Athens, TN 37303                                        220 Carriage Lane
                                                        Bluefield, VA 24605

Southern Hills Consulting, LLC
Kevin Harris                                            Stephen D. Lerner, Co-Counsel
91 River Bend Lane                                      201 E. Fourth St.
Totz, KY 40870                                          Suite 1900
                                                        Cincinnati, OH 45202

Southern Tire Mart, LLC
800 HWY 98                                              Steptoe & Johnson PLLC
Columbia, MS 39429                                      P O box 1588
                                                        Charleston, WV 25326

Southern Wholesale Supply, Inc.
165 Industrial Park Road                                Steven Harris
Harlan, KY 40831

                                                        Steven Weaver
Southwest Tool Rental                                   53 Post Office Road
1675 Park Ave SW                                        Kettle Island, KY 40958
Norton, VA 24273

                                                        Strata Safety Products, LLC
SPILMAN THOMAS & BATTLE, PLLC                           8995 Rosewell Road
300 Kanawha Blvd E                                      Suite 200
Charleston, WV 25301                                    Atlanta, GA 30350
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Stray Bullet Transportation, LLC                        Thermo Environmental Insturments, LLC
282 Letcher Circle                                      27 Forge Parkway
Bean Station, TN 37708                                  Franklin, MA 02038


Sullivan Hazeltime Allison LLC                          Tim Gooden
919 N Market Street                                     PO Box 1177
Suite 420                                               Harlan, KY 40831
Wilmington, DE 19801

                                                        Tim Messer
Tabor Machine Company, LLC                              PO Box 482
1176 Shelter Road                                       131 Curve Drive
Oakvale, WV 24739                                       Cumberland, KY 40823


Tennessee Child Support                                 TIM SHORT
PO Box 305200                                           1935 US HWY 25E
Nashville, TN 37229                                     Middlesboro, KY 40965


Tennessee Department of Revenue                         Tim Turner
PO Box 14035                                            25739 N US HWY 119
Knoxville, TN 37914                                     Cumberland, KY 40823


Tennessee Secretary of State                            TIMBERLINE BARNS, LLC
312 Rosa L Parks Ave                                    21680 WILDERNESS RD.
6th Floor Snodgrass Tower                               Rose Hill, VA 24281
Nashville, TN 37243

                                                        Timothy Dotson
Terraces Office Park, LLC
8858 Cedar Springs Lane
Knoxville, TN 37923                                     TLL Trucking INC
                                                        PO Box 3790
                                                        Wise, VA 24293
The Bailey Company, Inc.
501 Cowan Street
Nashville, TN 37207                                     TN Depart of Labor & Workforce
                                                        PO Box 101
                                                        Nashville, TN 37202
The Daniels Company
238 Markell Drive
Bluefield, WV 24701                                     Tony Lloyd
                                                        36 Warren Rd
                                                        Lot 8
The Hale Law Firm                                       Cumberland, KY 40823
PO Box 274
Raleigh, NC 27621
                                                        Total Electric
                                                        247 Crescent Drive
The Mountain Eagle                                      Baxter, KY 40806
PO Box 808
Whitesburg, KY 41858
                                                        Town of Appalachia
                                                        PO Box 112
The Thaman Rubber Company                               Appalachia, VA 24216
3280 Hageman Street
Cincinnati, OH 45241
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Travis Harness                                             US Army TARDEC Petroleum Laboratory
597 Mill Branch Rd                                         5085 U Avenue
Huntsville, TN 37756                                       New Cumberland, PA 17070


Treasurer of Wise County                                   US Department of Labor
Commissioner of the Revenue
PO Box 1278
Wise, VA 24293                                             US Environmental Protection Agency Region 4
                                                           61 Forsyth St. SW
                                                           Atlanta, GA 30303
TREY K MINING AND ELECTRIC
PO BOX 235
Kimper, KY 41539                                           USI Insurance Services
                                                           PO Box 62889
                                                           Virginia Beach, VA 23466
Tri City Little League, Inc.
PO Box 483
Benham, KY 40807                                           Valley Mine Service, Inc
                                                           PO Box 57
                                                           Speedwell, TN 37870
Tri City Septic Tank Cleaning & Excavating Se
484 Readi Mix Rd
Harlan, KY 40831                                           VEDCO HOLDINGS INC
                                                           PO BOX 1198
                                                           Vansant, VA 24656
Tri State Rail Services, Inc.
PO Box 122
Worthington, KY 41183                                      Velosio
                                                           PO Box 933191
                                                           Cleveland, OH 44193
Troxler Electronic Laboratories, Inc.
3008 East Cornwallis Road
PO Box 12057                                               Verizon
Durham, NC 27709                                           PO Box 15124
                                                           Albany, NY 12212

United Central Industrial Supply Co, LLC.
PO Box 743849                                              Verizon Wireless
Atlanta, GA 30374                                          PO Box 660108
                                                           Dallas, TX 75266

United Industrial Services. Inc.
PO Box D                                                   Vernon Lemar Trucking
1010 Spruce Street                                         PO Box 237
Rich Creek, VA 24147                                       Grays Knob, KY 40829


Universal Environmental Services, LLC                      Virginia Department of Mines Minerals and Ene
411 Dividend Drive                                         3405 Mountain Empire Rd
Peachtree City, GA 30269                                   Big Stone Gap, VA 24219


Universal Total Lubricants, Inc.                           Virginia Department of Taxation
156 KY Oil Village                                         PO Box 1777
Betsy Layne, KY 41605                                      Richmond, VA 23218


UNUM Life Insurance Company of America                     Virginia Department of Taxation
PO Box 409548                                              PO Box 27407
Atlanta, GA 30384                                          Richmond, VA 23261
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Virginia Dept of Taxation                               Weir Resources, LLC
Withholding                                             1431 Opus Place
PO Box 26644                                            Suite 210
Richmond, VA 23261                                      Downers Grove, IL 60515


Virginia Division of Mined Land Reclamation             Wes Wilder
PO Drawer 900                                           43 McGeorge Lane Spur
Big Stone Gap, VA 24219                                 Pineville, KY 40977


Virginia Electric Supply                                Wesley Nelson
PO Box 64                                               174 Clyde Ellis Dr
1234 Industrial Park Road                               Pennington Gap, VA 24277
Duffield, VA 24244

                                                        West Virginia Electrical Repair, LLC
Virginia Employment Commission                          PO Box 1022
PO Box 27592                                            Bluefield, VA 24605
Richmond, VA 23261

                                                        West Virginia State Tax Department
Virginia Radioactive Materials Program                  PO Box 3852
109 Governor Street                                     Charleston, WV 25338
7th Floor
Richmond, VA 23219
                                                        White Armature Works, Inc.
                                                        PO Box 330
W & B Fabricators, Inc.                                 Mallory, WV 25634
PO Box 179
111 Enterprise Lane
Rocky Gap, VA 24366                                     White Rocks Machine, LLC.
                                                        PO Box 12
                                                        Ewing, VA 24248
W C Hydraulics, LLC.
172 Philpot Lane
Beaver, WV 25813                                        WHOLESALE BARNS& MORE LLC
                                                        12030 KY 225
                                                        BARFBOURVILLE, KY 40906
W&D Contractors
1848 Owens Branch Rd
Slemp, KY 41763                                         Willacoochee Indsutrial Fabrics, inc.
                                                        PO Box 457
                                                        1 Nasshville Mills Road
Waste Connections of KY                                 Nashville, GA 31639
PO Box 808
Lily, KY 40740
                                                        Williams, Kilpatrick & True PLLC
                                                        3151 Beaumont Centre Circle, Suite 375
Watkins Steel & Fabricating                             Lexington, KY 40513
500 S 30th Street
PO Box 1923
Middlesboro, KY 40965                                   Windstream
                                                        Kinetic Business
                                                        PO Box 9001908
WEIR INTERNATIONAL, INC.                                Louisville, KY 40290
1431 OPUS PLACE
SUITE 210
Downers Grove, IL 60515                                 Wise County Treasurer
                                                        PO Box 1308
                                                        Wise, VA 24293
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Woodway Stone Company
PO Box 307
Pennington Gap, VA 24277


Worldwide Equipment Inc
ProBilling & Funding Service
PO Box 2222
Decatur, AL 35609


WPP LLC
Natural Resource Partners Limited Parter
Lockbox 2495
Columbus, OH 43260


Wright Block & Precast, LLC
Wright Express Conveyor & Vulcanizing LL
PO Box 429
Dorton, KY 41520


XCal Tools - Beckly, LLC
230 Industrial Drive
Oak Hill, WV 25901


Xpress Cable & Repair
PO Box 1667
Coeburn, VA 24230


Xpress Conveyor & Vulcanizing, Inc
P O Box 1667
Coeburn, VA 24230


Xpress Service & Sales, Inc.
12744 Kingston Pike
Suite 202
Knoxville, TN 37934
